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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA,                          CASE NO. 21-60020-CR-DIMITROULEAS

         Plaintiff,

  vs.

  JONATHAN MARKOVICH,
  and DANIEL MARKOVICH,

        Defendant.
  ______________________________________/

                                             ORDER

         THIS CAUSE is before the Court on Defendants Jonathan Markovich and Daniel

  Markovich’s Motion for Arrest of Judgment and/or for New Trial [DE-452] and the Court having

  considered the motion and being otherwise fully advised in the premises, it is hereby

         ORDERED AND ADJUDGED that the Court defers ruling for ten (10) days to await a

  response from the Government.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  27th day of December, 2021.




  Copies furnished to:

  Counsel of Record
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